                  Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 1 of 8




 1                                                                                 Hon. James L. Robart

 2

 3

 4

 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 7
      AUBRY MCMAHON,
 8                                                         Case No.: 2:21-cv-00920-JLR
                      Plaintiff,
 9                                                         PLAINTIFF’S MOTION FOR
             v.                                            RECONSIDERATION AND TO
10                                                         ALTER JUDGMENT
      WORLD VISION, INC.,
11
                      Defendant.                           NOTE DATE: JUNE 27, 2023
12

13           Pursuant to Local Rule 7(h) and Fed. R. Civ. P. 59(e), plaintiff Aubry McMahon

14    (“Plaintiff”) files this motion for reconsideration of the Court’s summary judgment rulings and to

15    alter the judgment entered in favor of defendant World Vision, Inc. (“Defendant” or “World

16    Vision”). Plaintiff respectfully suggests the Court committed manifest error by holding the Church

17    Autonomy Doctrine bars the claims of a non-ministerial employee who was terminated pursuant

18    to a hiring policy that facially discriminates on the basis of sex, sexual orientation, and marital

19    status by barring anyone in a same-sex marriage from employment. None of the prior cases

20    applying the Church Autonomy Doctrine involved an adverse action taken per a facially

21    discriminatory hiring policy. This Court’s decision constitutes an unprecedented expansion of that

22    doctrine. If not reconsidered, the Court’s decision will tear a gaping hole in the fabric of anti-

23    discrimination law for non-ministerial employees of religious organizations nationwide.

24
     PLAINTIFF’S MOTION TO RECONSIDER                                   NISAR LAW GROUP, P.C.
     Page 1                                                               60 East 42nd Street, Ste. 4600
                                                                             New York, NY 10165
     2:21-CV-00920-JLR                                                        Ph: (646) 889-1007
                Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 2 of 8




 1            This Court correctly recognized that the Church Autonomy Doctrine “may bar a non-

 2    ministerial employee’s employment claims against a religious employer in certain limited

 3    circumstances.” Dkt. No. 38 at 18 (emphasis supplied). However, the Court incorrectly determined

 4    this case was one of those limited circumstances. Plaintiff’s summary judgment filings made clear

 5    resolution of this case requires only application of neutral principles of law. The Court manifestly

 6    erred to the extent its opinion suggests that Plaintiff’s Title VII and WLAD claims “call[] into

 7    question the reasonableness, validity, or truth of a religious doctrine or practice.” Id. at 16. Plaintiff

 8    does not dispute World Vision’s refusal to hire anyone who is in a same-sex marriage is based

 9    upon sincerely held religious beliefs. But no other court has ruled that if a religious employer

10    asserts a religious justification for a facially discriminatory hiring policy, the Church Autonomy

11    Doctrine immunizes that policy from judicial scrutiny under civil law.

12            The Court manifestly erred by relying on Butler v. St. Stanislaus Kostka Catholic Acad.,

13    609 F. Supp. 3d 184 (E.D.N.Y. 2022), to dismiss Plaintiff’s claims. Firstly, Butler’s discussion of

14    the Church Autonomy Doctrine was dicta as the court had already ruled that the ministerial

15    exception applied. Secondly, Butler invoked the Church Autonomy Doctrine “on the record of this

16    case” only because the plaintiff had relied on the McDonnell Douglas burden shifting framework

17    and claimed that the employer’s explanation for his termination—that he had sent an email saying

18    he was planning to marry his boyfriend sometime in the future—was a pretext for sexual

19    orientation discrimination. 609 F. Supp. 3d at 198, 200. Butler did not argue that he was terminated

20    pursuant to a facially discriminatory hiring policy. Instead, he challenged “the plausibility of St.

21    Stans’ asserted religious justifications in this case.” Id. at 204. The Butler court therefore ruled

22    “the only way for the jury to find pretext would be to question the Church’s explanation of religious

23

24
     PLAINTIFF’S MOTION TO RECONSIDER                                        NISAR LAW GROUP, P.C.
     Page 2                                                                    60 East 42nd Street, Ste. 4600
                                                                                  New York, NY 10165
     2:21-CV-00920-JLR                                                             Ph: (646) 889-1007
                  Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 3 of 8




 1    doctrine, or to question how much that particular religious doctrine really mattered to the Church.

 2    To do so, however, would violate the church-autonomy principle.” Id. at 203 (footnote omitted).

 3             Such concerns are entirely absent from this case. Plaintiff never invoked the McDonnell

 4    Douglas framework. Nor did she claim that Defendant’s explanation for rescinding her job offer,

 5    its discovery that she was in a same-sex marriage, was a pretext. A “gender-based [employment]

 6    policy is not a pretext for discrimination—it is per se intentional discrimination.” Frank v. United

 7    Airlines, Inc., 216 F.3d 845, 854 (9th Cir. 2000) (quoting Healey v. Southwood Psychiatric Hosp.,

 8    78 F.3d 128, 131-32 (3d Cir. 1996) (pretext analysis is “inapt” where case involves facially

 9    discriminatory policy)).1 Defendant’s policy of refusing to hire anyone who is in a same-sex

10    marriage violates Title VII and the WLAD because that policy facially discriminates with respect

11    to sex, sexual orientation, and marital status. As argued in Plaintiff’s motion for summary

12    judgment, to decide Plaintiff’s affirmative legal claims, the Court needed to ask only a simple

13    question: but for Plaintiff’s being a woman, would she have been fired for being married to a

14    woman? The answer to that question is indisputably “no.” Therefore, no further proof of

15    discriminatory intent is required. Frank, 216 F.3d at 854 (where a claim of discriminatory

16    treatment is based upon a policy that is discriminatory on its face, the plaintiff need not otherwise

17    establish the presence of discriminatory intent).

18             In describing the limited reach of the Church Autonomy Doctrine, Butler relied upon De

19    Marco v. Holy Cross High Sch., 4 F.3d 166 (2d Cir. 1993), which this Court also cited. Dkt. No.

20    38 at 16-17. Reversing the district court, De Marco held that the Church Autonomy Doctrine does

21    not bar statutory claims of discrimination where the employer claims that it acted for religious

22
      1Therefore, the Court manifestly erred by requiring Plaintiff to show pretext in addition to proving that discrimination

23    was a but-for cause of Defendant’s actions. Cassino v. Reichhold Chems., Inc., 817 F.2d 1338, 1343-44 (9th Cir. 1987).

24
     PLAINTIFF’S MOTION TO RECONSIDER                                                 NISAR LAW GROUP, P.C.
     Page 3                                                                              60 East 42nd Street, Ste. 4600
                                                                                            New York, NY 10165
     2:21-CV-00920-JLR                                                                       Ph: (646) 889-1007
                Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 4 of 8




 1    reasons if a non-ministerial plaintiff can show a protected characteristic was a but-for cause of the

 2    employer’s adverse action. Id. at 172. In further support of that constitutional holding, De Marco

 3    reasoned that applying the Church Autonomy Doctrine to such a case would undermine Congress’s

 4    decision to apply to statutory discrimination laws to religious institutions other than with respect

 5    to claims of religious discrimination. Id. at 172-73. De Marco demonstrates the error of this Court’s

 6    application of the Church Autonomy Doctrine to a case where it is factually undisputed that

 7    Plaintiff’s protected characteristics were but-for causes of Defendant’s adverse action against her.

 8           Bryce v. Episcopal Church in the Diocese of Colo., 289 F.3d 648, 654 (10th Cir. 2002), also

 9    lends no support to this Court’s decision. There, the plaintiff claimed that the defendants

10    “subjected her to sexual harassment based on public statements which characterized homosexual

11    activities in a harassing and humiliating manner.” Bryce v. Episcopal Church in the Diocese of

12    Colo., 121 F. Supp. 2d 1327, 1339 (D. Colo. 2000). The Tenth Circuit’s ruling that the plaintiff’s

13    action was barred by the Church Autonomy Doctrine was quite narrow in that it protected the

14    speech engaged in by the church: “The defendants’ alleged statements fall squarely within the

15    areas of church governance and doctrine protected by the First Amendment.” 289 F.3d at 658.

16           Similarly in EEOC v. Catholic Univ. of Am., 83 F.3d 455 (D.C. Cir. 1999), the court found

17    that the plaintiff—a nun who brought an action alleging her denial of tenure was made on the basis

18    of her sex—was unable to bring her discrimination claims on First Amendment grounds as the

19    case had devolved into a battle of religious experts “concerning the quality of [the plaintiff’s]

20    publications” which were naturally of a religious nature. Id. at 465. The district court had dismissed

21    the action on the premise that it was “neither reasonably possible nor legally permissible for a lay

22    trier of fact to evaluate these competing opinions on religious subjects.” EEOC v. Catholic Univ.

23

24
     PLAINTIFF’S MOTION TO RECONSIDER                                     NISAR LAW GROUP, P.C.
     Page 4                                                                 60 East 42nd Street, Ste. 4600
                                                                               New York, NY 10165
     2:21-CV-00920-JLR                                                          Ph: (646) 889-1007
                Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 5 of 8




 1    of Am., 856 F. Supp. 1, 9 (D.D.C. 1994). This rationale was adopted by the Circuit Court. 83 F.3d

 2    at 466. No such concerns are present in this case.

 3           Curay-Cramer v. Ursuline Acad. of Wilmington, Del., Inc., 450 F.3d 130 (3d Cir. 2006),

 4    relied upon by the Court and Defendant, is distinguishable as well. There, the plaintiff—a teacher

 5    employed at a Catholic school—was fired for signing her name to a pro-choice advertisement in a

 6    local newspaper and thereafter refusing to recant her support and state publicly that she was pro-

 7    life. Id. at 132-33. The plaintiff brought a disparate treatment claim under Title VII alleging that

 8    certain male co-workers (one who was Jewish and one who had opposed the war in Iraq) had been

 9    treated less harshly for conduct which was, according to her, similar in scope as it related to

10    Catholic doctrinal violations. Id. at 137, 139. The Third Circuit concluded that evaluating the

11    comparators would require “an analysis of Catholic doctrine” in order to determine whether those

12    alleged “affront[s]” were at least the same level of seriousness as Plaintiff’s. Id. at 140. Here, no

13    comparative analysis of religious precepts is required to conclude that Plaintiff’s sex, sexual

14    orientation, and marital status were but-for causes of the revocation of her job offer.

15           In Garrick v. Moody Bible Inst., 412 F. Supp. 3d 859, 871-872 (N.D Ill. 2019), the district

16    court held that the Church Autonomy Doctrine precluded it from deciding plaintiff’s claims that

17    she was fired for advocating in favor of the inclusion of women in the ministry. “Garrick’s

18    disagreement with Moody’s beliefs on the role of women in the ministry underlies the majority of

19    Garrick’s allegations.” Id. at 872. Here, by contrast, it is undisputed that World Vision revoked its

20    job offer to McMahon pursuant to a hiring policy that facially discriminates on the basis of sex,

21    sexual orientation, and marital status. That Defendant asserted a religious justification for its

22    facially discriminatory hiring policy does not turn this case into “a religious disagreement.”

23

24
     PLAINTIFF’S MOTION TO RECONSIDER                                    NISAR LAW GROUP, P.C.
     Page 5                                                                 60 East 42nd Street, Ste. 4600
                                                                               New York, NY 10165
     2:21-CV-00920-JLR                                                          Ph: (646) 889-1007
                Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 6 of 8




 1           As this Court recognized, neither the U.S. Supreme Court nor the Ninth Circuit has directly

 2    spoken to how the Church Autonomy Doctrine interacts with the ministerial exception in

 3    employment discrimination cases. Dkt. No. 38 at p. 17. Starkey v. Roman Catholic Archdiocese of

 4    Indianapolis, 496 F. Supp. 3d 1195, 1206-1207 (S.D. Ind. 2020), directly (and in Plaintiff’s view

 5    correctly) held that where, as here, a religious employer takes an adverse action pursuant to a hiring

 6    policy that facially discriminates on the basis of sexual orientation, the Church Autonomy Doctrine

 7    does not provide the employer with any greater protection than the ministerial exception.

 8    Plaintiff’s summary judgment briefing should not have assumed this Court would follow Starkey.

 9    While Plaintiff should have addressed and distinguished the employment-related Church

10    Autonomy Doctrine cases cited in Defendant’s summary judgment briefing, the Court should have

11    nevertheless held as a matter of law that the Doctrine is inapplicable here.

12           The Court erroneously framed the question presented in this case as whether “the Church

13    Autonomy Doctrine requires abstention where at least one of the ‘but for’ causes [for the adverse

14    action] is a religious justification.” Dkt. No. 38 at n. 11. This confuses causation and justification.

15    “Whether an employment practice involves disparate treatment through explicit facial

16    discrimination does not depend on why the employer discriminates but on the explicit terms of the

17    discrimination.” Int’l Union, United Auto., Aerospace & Agr. Implement Workers of Am., UAW,

18    v. Johnson Controls, Inc., 499 U.S. 187, 199 (1991). If a religious employer refuses to hire a non-

19    ministerial employee because of their race, that is still illegal race discrimination even where the

20    employer believes the discrimination is religiously justified by the Curse of Ham. If a religious

21    employer refuses to hire a non-ministerial employee because of their sex, that is still illegal sex

22    discrimination even where the employer believes the sex discrimination is religiously justified

23    because Eve was taken from Adam’s rib. And if a religious employer refuses to hire a non-

24
     PLAINTIFF’S MOTION TO RECONSIDER                                      NISAR LAW GROUP, P.C.
     Page 6                                                                  60 East 42nd Street, Ste. 4600
                                                                                New York, NY 10165
     2:21-CV-00920-JLR                                                           Ph: (646) 889-1007
                  Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 7 of 8




 1    ministerial employee because they are in a same-sex marriage, that is still illegal discrimination

 2    on the basis of sex, sexual orientation, and marital status even where the employer disapproves of

 3    same-sex marriage on religious grounds. A religious employer’s religious justification for

 4    unlawful discrimination is not causally separate from the discrimination itself.2

 5             It is undisputed that Plaintiff’s sex, sexual orientation, and marital status were but-for

 6    causes of Defendant’s revocation of its job offer to her pursuant to its facially discriminatory

 7    employment policy against hiring individuals who are in same-sex marriages. Because Plaintiff is

 8    not a minister and has not brought claims for religious discrimination, it makes no legal difference

 9    that Defendant justified its discriminatory actions against her on religious grounds. The Court’s

10    unprecedented invocation of the Church Autonomy Doctrine to bar Plaintiff’s claims leaves non-

11    ministerial employees of religious organizations without the anti-discrimination protections

12    Congress and the Washington legislature intended them to have.

13             In sum, this Court should grant Plaintiff’s motion for reconsideration, vacate the judgment

14    entered in favor of Defendant, and grant Plaintiff’s motion for summary judgment as to liability.

15             RESPECTFULLY SUBMITTED this 27th day of June 2023.

16                                                 NISAR LAW GROUP, P.C.

17                                                          By: /s/ Casimir Wolnowski
                                                            Casimir Wolnowski
18                                                          One Grand Central Place
                                                            60 East 42nd Street, Suite 4600
19                                                          New York, New York 10165
                                                            Phone: (646) 889-1007
20                                                          Fax: (516) 604-0157
                                                            Email : cwolnowski@nisarlaw.com
21
      2 Accordingly, the Court also manifestly erred by holding that Defendant’s religious justification of its facially

      discriminatory hiring policy constitutes a “legitimate, non-discriminatory reason” for Defendant’s adverse action
22    against Plaintiff. Dkt. No. 38 at 19-20. As a matter of law, there cannot be a non-discriminatory reason for a facially
      discriminatory hiring policy. See Frank, 216 F.3d at 854 (citing Healey, 78 F.3d at 131-32 (typical shifting burden
23    procedure does not apply to “facial” disparate treatment cases)).

24
     PLAINTIFF’S MOTION TO RECONSIDER                                                NISAR LAW GROUP, P.C.
     Page 7                                                                             60 East 42nd Street, Ste. 4600
                                                                                           New York, NY 10165
     2:21-CV-00920-JLR                                                                      Ph: (646) 889-1007
              Case 2:21-cv-00920-JLR Document 40 Filed 06/27/23 Page 8 of 8




 1                                        Admitted Pro Hac Vice

 2                                  I certify that this memorandum contains 2,067 words in
                                    compliance with section 7(e) of the Local Rules of practice
 3                                  for civil proceedings before the U.S. District Court for the
                                    Western District of Washington.
 4

 5                                  FRANK FREED SUBIT & THOMAS LLP

 6                                        By: /s/ Michael C. Subit
                                          Michael C. Subit, WSBA No. 29189
 7                                        705 Second Avenue, Suite 1200
                                          Seattle, Washington 98104
 8                                        Phone: (206) 682-6711
                                          Fax: (206) 682-0401
 9                                        Email: msubit@frankfreed.com

10                                        Attorneys for Plaintiff

11

12

13

14

15

16

17

18

19

20

21

22

23

24
     PLAINTIFF’S MOTION TO RECONSIDER                          NISAR LAW GROUP, P.C.
     Page 8                                                         60 East 42nd Street, Ste. 4600
                                                                       New York, NY 10165
     2:21-CV-00920-JLR                                                  Ph: (646) 889-1007
